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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA §
                                                §
 v.                              §                          Case No. 4:20-CR-355
                                                §           Judge Mazzant
 JAMES CLARK NIX §


                          THIRD SUPERSEDING INDICTMENT                         FILED
                                                                                   FEB 9 - 2022
        THE UNITED STATES GRAND JURY CHARGES:
                                                                               Clerk, U.S. District Court
                                                                                    Texas Eastern
                                      General Allegations

        At all times material to the facts set forth in this Indictment:

        1. James Clark Nix ( James Nix ) was an individual residing in Eagle, Idaho,

 Potomac, Maryland, and Katy, Texas.

        2. James Ni and his son Bradley Nix owned, operated, and controlled two

 businesses, NECO International, Inc. (“NECO ) and AMIG, LLC, (“AMIG ). Both NECO

 and AMIG conducted business in Lewisville, Texas, in the Eastern District of Texas.

        3. In or around April 2014, James Nix and Bradley Nix opened bank accounts at

 Chase Bank, N.A., in the names of their businesses, AMIG (“AMIG account ) and NECO

 (“NECO account”).

       4. Provident Trust Group, LLC (“PTG ) was a self-directed retirement fond

 administrator used by individuals to direct and disburse investments and fonds.
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                                           COUNT 1

                                                     Violation: 18 U.S.C. § 1349 (Conspiracy
                                                     to Commit Wire Fraud)


         5. The General Allegations section of this Indictment is realleged and

 incorporated by reference as though fully set forth herein.

         6. From in or around 2001, and continuing through November 19, 2020, in the

 Eastern District of Texas and elsewhere, the defendant, James Nix and Bradley Nix, did

 conspire to commit wire fraud, a violation of Title 18 United States Code Section 1343, and

 knowingly and willfully joined in the agreement with the intent to further its unlawful

 purpose.

                                 Overview of the Conspiracy

         7. James Nix and Bradley Nix worked as bookkeepers managing taxes for

 individuals and small businesses. James Nix and Bradley Nix relied on those personal and

 client relationships to secure investments in their businesses NECO and AMIG. The Nixes

 represented that the investments would: (1) be at little to no risk; (2) earn a significant rate

 of return of up to approximately ten percent per year; and (3) go towards corporate bonds,

 real property, or local businesses that needed an infusion of capital. In reality, the Nixes

 used the majority of investor funds for personal expenses, including luxury vehicles,

 residences, hotels, and to pay prior investors. All told, James Nix and Bradley Nix

 defrauded victim investors of more than $6,000,000.




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                                     Purpose of the Conspiracy

         8. It was the general purpose of the conspiracy for James Nix and Bradley Nix

 to unlawfully and unjustly enrich themselves by obtaining money from victims by means of

 materially false and fraudulent pretenses, representations, and promises.

                                Manner and Means of the Conspiracy

         9. The manner and means by which James Nix and Bradley Nix sought to

 accomplish the conspiracy included, among others, the following:

             a. James Nix and Br dley Nix used their businesses NECO nd AMIG to market
                   investments to their victims.


             b. James Nix and Bradley Nix solicited investments from, among other
                individuals, clients with whom they had long-standing personal and
                professional relationships.

             c. James Nix and Bradley Nix misrepresented that investments would be used
                 for legitimate business purposes, such as corporate bonds, real property, or
                 local businesses that needed capital infusion.

             d. James Nix and Bradley Nix frequently directed victims to send their money to
                 a trust company or a self-directed retirement administrator, such as Provident
                 Trust Group ( PTG ), Sterling Trust Group, or Equity Trust, so that the Nixes
                 could access and supposedly invest the funds.

             e. James Nix and Bradley Nix provided promissory notes to the trust companies
                 and self-directed retirement administrators in order to gain access to the victim
                 funds. The notes would state, for example, that the Nixes business AMIG was
                 the borrower, that PTG was the lender, and that AMIG would repay the
                 invested funds plus ten percent.


             f. James Nix and Bradley Nix used their NECO and AMIG bank accounts to
                 receive and deposit investment funds from victims and to gain access to the
                 funds for personal use.

             g. James Nix and Bradley Nix used the majority of investor funds on personal
                 purchases and expenses, including vehicles, travel, and housing.


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             h. James Nix and Bradley Nix provided false accounting statements to victim
                 investors to assure them that their funds were secure.

             i. James Ni and Bradley Nix caused wire transmissions that affected interstate
                 and foreign commerce.


                                Acts in Furtherance of the Conspiracy

         In furtherance of the conspiracy, the following acts, among others, were committed

 in the Eastern District of Texas and elsewhere.

 Victim Investor K. C.

         10. An individual with initials K.C. hired James Nix and Bradley Nix to prepare

 his and his wife s taxes from approximately 1990 to 2001. Around 2014, James Nix

 discussed an investment opportunity with K.C. and his wife, representing to them that the

 investment would return approximately 10% annually and would be invested in drug stores,

 bars in Denton, Texas, a toy company, land with federal subsidies, and oil wells in

 Washington state.

         11. Based on these representations, K.C. and his wife made multiple investments

 with AMIG. In one instance in or around May 2014, K.C. provided the Nixes a $100,000

 check made out to AMIG, which K.C. and his wife secured from the sale of their home. On

 or about May 30, 2014, the Nixes deposited the $100,000 in the AMIG account.

         12. Over the next five years, James Nix did not invest K.C. s funds as promised.


 James Nix and Bradley Nix transferred some of the funds to the NECO account, made

 payments on James Nix s personal credit cards, paid property taxes, and withdrew funds as




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 cash. Only a small portion of the funds went to the small business investments as James

 Nix had represented.

         13. In or around June 2019, K.C. advised the Nixes that he would be retiring soon

 and wanted to begin making monthly withdrawals on the investment within six months.

 Approximately six months later, prior to taking a cruise vacation, K.C. called J mes Ni

 regarding problems getting his monthly disbursement check. During the call, James Nix

 told K.C. that he (James Nix) did not have any money, that K.C. would not be getting any

 money, and that K.C. should just jump over the rail while on the cruise. James Nix never

 responded to K.C. s subsequent efforts to reach him.

         14. Over the course of the scheme, K.C. and his wife made multiple investments

 with the Nixes and lost approximately $220,000.

 Victim Investor N.R.

         15. In or around 2018, an individual with initials N.R. met with Bradley Nix at the

 AMIG office in Lewisville, Texas, in the Eastern District of Texas. Bradley Nix convinced

 N.R. to in invest in AMIG, representing, among other things, that A IG would invest in

 smaller companies and would generate a guaranteed 10% return on investment.

         16. Based on these representations, N.R. made multiple investments with AMIG,

 including a $74,000 investment in March 2019. N.R. drew the funds for the investment from

 his individual retirement account. Bradley Nix directed N.R. to route the funds to AMIG

 through a self-directed retirement fond administrator, PTG. Specifically, Bradley Nix




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 instructed N.R. to complete a direction of investment form, which allowed the Nixes to

 obtain the funds sent to and held by PTG.

         17. James Nix provided and executed promissory notes to finalize the transfer of

 funds from PTG to his AMIG account. For example, shortly after N.R. s $74,000 was

 deposited with PTG, James Ni provided a promissory note stating that AMIG would repay

 $74,000 and interest at the yearly rate of 10%. James Nix signed and provided the

 promissory note to PTG on or about March 11, 2019. The next day, on March 12, 2019,

 PTG initiated an interstate wire transfer of $74,000 of N.R. s retirement funds to the Nix s

 AMIG account.


         18. James Nix and Bradley Nix did not invest the funds as represented to N.R.

 Instead, the Nixes transferred N.R.’s investment to the NECO account, made payments to


 other investors, withdrew cash, and made payments on James Ni s personal credit cards.

 The Nixes never showed N.R. account statements, which small businesses received N.R.’s


 money, or how the money was “invested or spent. In fact, less than 18 months after N.R.’s

 investment, the AMIG account that received N.R.’s retirement funds had a balance of less

 than $100. All told, N.R. lost a total of approximately $279,000.

 Scope of the Fraudulent Conduct

         19. James Nix and Bradley Nix solicited investments from other victim investors,

 many of whom invested tens of thousands of dollars of their retirement and personal savings.

 Each time, the Nixes used similar misrepresentations that investments would go to

 corporate bonds, real property, and small business capital infusion. Contrary to those



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 representations, the Nixes used the funds for several non-business, non-investment purposes.


 For example, James Nix spent victim investor funds on: the purchase of Land Rover and

 Maserati automobiles; cash withdrawals; credit card payments; personal property taxes;

 payments to other investors; hotel stays; and housing expenses. In total, James Nix and

 Bradley Nix s defrauded their victims of at least $6,000,000.

         All in violation of 18 U.S.C. § 1349.




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                                                 COUNT 2

                                                          Violation: 18U.S.C. § 1343
                                                          (Wire Fraud)

         20. Paragraphs 1 - 19 of this Indictment are realleged and incorporated by

 reference as though folly set forth herein, as constituting and describing James Nix s and

 Bradley Nix s knowing scheme to defraud victims and unlawfully obtain money by means

 of false and fraudulent pretenses, representations, and promises.

                                     Act in Execution of the Scheme

         21. On or about the date set forth below, in the Eastern District of Texas and

 elsewhere, for the purpose of executing the above-described knowing scheme to defraud,

 James Nix and Bradley Nix, acting with the intent to defraud, knowingly transmitted and

 caused to be transmitted by means of wire communications in interstate and foreign

 commerce the following:

    DATE (ON OR                        DESCRIPTION OF THE INTERSTATE WIRE
      ABOUT)                                     TRANSMISSION

                                Interstate wire transfer of approximately $74,000 consisting of
                                N.R.’s investment funds from Provident Trust Group s Citizen’s
     March 12, 2019             Business Bank account number XXXXXX2306, located in
                                Ontario, California, to AMIG, LLC’s Chase Bank, N.A account
                                number XXXXXX6886, located in Texas




         All in violation of 18 U.S.C. § 1343.




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                                             COUNTS 3 - 4

                                                         Violation: 18 U.S.C. §§ 1957 and 2
                                                         (Money Laundering and Aiding and
                                                         Abetting)

           22. Paragraphs 1 - 19 of this Indictment are realleged and incorporated by

 reference as though fully set forth herein.

           23. On or about the dates set forth below, in the Eastern District of Texas, and

 elsewhere, the defendant, James Nix, aided and abetted by others, both known and unknown

 to the Grand Jury, did knowingly engage and attempt to engage in the following monetary

 transactions, by, through, and to a financial institution, affecting interstate and foreign

 commerce, in criminally-derived property of a value greater than $10,000.00, that is, the

 withdrawal, deposit, exchange, and transfer of funds, such property having been derived

 from a specified unlawful activity, that is wire fraud, a violation of 18 U.S.C. § 1343, as

 alleged in Count Two of the Indictment, and the monetary transaction took place within the

 United States:




  COUNT          DATE              DESCRIPTION OF MONETARY                   AMOUNT OF
                (ON OR                  TRANSACTION                         TRANSACTION
                ABOUT)                                                     (APPROXIMATE)
       3       December Remittance of cashier s check, the                 $69,256.39
               22, 2016         cashier’s check being made pay ble to
                                Land Rover Darien, drawn from A IG,
                                LLC, Chase Bank, N.A. XXXXXX6886
                                for the purchase of a 2016 Land Rover
                                Discovery



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  COUNT          DATE              DESCRIPTION OF MONETARY                AMOUNT OF
                (ONOR                   TRANSACTION                      TRANSACTION
                ABOUT)                                                  (APPROXIMATE)
       4        January         Remittance of cashier s check, the      $81,503.13
                26, 2017        cashier s check being made payable to
                                Miller Motor Cars, drawn from AMIG,
                                LLC, Chase Bank, N.A. XXXXXX6886
                                for the purchase of a 2017 Maserati
                                Levante




           All in violation of 18 U.S.C. §§ 1957 and 2.




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               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

            Pursuant to 18 U.S.C. 981(a)(lXC) and 982(a (T) and 28 U.S.C. § 2461

           1. The allegations contained in Counts 1 through 4 of this Indictment are

  realleged and incorporated by reference as though folly set forth herein for the purpose of

  alleging forfeiture to the United States of America of certain property in which the defendant

  has an interest.


           2. Upon conviction of any violation of 18 U.S.C. § 1343 or 18 U.S.C. § 1349,

  James Nix, shall forfeit to the United States any property, real or personal, that constitutes

  or is derived from proceeds traceable to the offense(s), pursuant to 18 U.S.C. § 981(a)(1)(C)

  and 28 U.S.C. § 2461(c). The property which is subject to forfeiture, includes but is not

  limited to, the following:

                  a. One (1) 2017 Maserati Lev nte bearing vehicle identification number
                      (VIN) ZN661XUL8HX231458;

                  b. One (1) 2016 Land Rover Discovery bearing VIN
                      SALAK2V63GA837443;

                  c. A money judgment, and all interest and proceeds traceable thereto,
                     representing the proceeds of the offenses, for which the defendant is jointly
                     and severally personally liable, including a money judgment.

           3. Upon conviction of any violation of 18 U.S.C. § 1957, the defendant, James

 Ni , shall forfeit to the United States any property, real or personal, involved in such offense,

 or any property traceable to such property, pursuant to 18 U.S.C. § 982(a)(1), including a

 money judgment representing funds involved in the offense.




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           4. Pursuant to 21 U.S.C. § 853(p), as incorporated by reference by 18 U.S.C. §

  982(b), if any of the forfeitable property, or any portion thereof, as a result of any act or

  omission of the defendant James Nix:

                  a. Cannot be located upon the exercise of due diligence;

                  b. Has been transferred, or sold to, or deposited with a third party;

                  c. Has been placed beyond the jurisdiction of the Court;

                  d. Has been substantially diminished in value; or

                  e. Has been commingled with other property which cannot be subdivided

                      without difficulty;

  it is the intent of the United States to seek the forfeiture of other property of James Nix up

  to the value of the above-described forfeitable properties, including, but not limited to, any

  identifiable property in the name of James Nix, pursuant to Title 21, United States Code,

  Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

           5. By virtue of the commission of the offenses alleged in this Indictment, any and

  all interest that James Nix has in the above-described property is vested in the United States

  and hereby forfeited to the United States pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. §

  982(a)(1), and 28 U.S.C. § 2461(c).

           All pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(1), and 28 U.S.C. §

 2461(c) and the procedures set forth at 21 U.S.C. § 853, as made applicable through 18

 U.S.C. § 982(b)(1).




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                                          A TRUE BILL


                                          GRAND JURYFOREPERSON

 BRIT FEATHERSTON
 UNITED STATES ATTORNEY

                                                 2      I 1 / 2,2.
 ANAND VARADARAJAN                        Date
 Assistant United States Attorney




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  UNITED STATES OF AMERICA §
                                              §
  v. § Case No. 4:20-CR-355
                                              § Judge Mazzant
  JAMES CLARK NIX §

                                 NOTICE OF PENALTY

                                        COUNTS 1-2

  Violation:         18 U.S.C. §§ 1349, 1343 (Wire Fraud and Conspiracy to Commit
                     Wire Fraud)

  Penalty:           Imprisonment for a term not more than 20 years, a fine not to exceed
                     $250,000.00, or if any person derives pecuniary gain from the
                     offense, or if the offense results in pecuniary loss to a person other
                     than the defendant then a fine not more than the greater of twice
                     the gross gain to the defendant or twice the gross loss to individual(s)
                     other than the defendant; or both such imprisonment and fine. A
                     term of supervised release of not more than three years in addition to
                     such term of imprisonment.


                     If the violation affected a financial institution, then:
                     Imprisonment for a term not more than 30 years, a fine not to exceed
                     $1,000,000.00, or if any person derives pecuniary gain from the
                     offense, or if the offense results in pecuniary loss to a person other
                     than the defendant then a fine not more than the greater of twice
                     the gross gain to the defendant or twice the gross loss to individual(s)
                     other than the defendant; or both such imprisonment and fine. A
                     term of supervised release of not more than five years in addition to
                     such term of imprisonment.


 Special
 Assessment:          $100.00 each count




 Notice of Penalty
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                                       COUNTS 3-4

  Violation:         18 U.S.C. §§ 1957 and 2 (Money Laundering and Aiding
                     and Abetting)

  Penalty:           Imprisonment for a term not more than ten years, a fine not to
                     exceed $250,000, or if any person derives pecuniary gain from
                     the offense, or if the offense results in pecuniary loss to a person
                     other than the defendant then a fine not more than the greater
                     of twice the gross gain to the defendant or twice the gross loss to
                     individual(s) other than the defendant; or both such imprisonment
                     and fine. A term of supervised release of not more than three
                     years in addition to such term of imprisonment.
   Special
  Assessment:        $100.00 each count




 Notice of Penalty
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